 8:09-cr-00382-JFB-SMB         Doc # 83   Filed: 01/08/10   Page 1 of 1 - Page ID # 127




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )           8:09CR382
                                                 )
       vs.                                       )            ORDER
                                                 )
JENNIFER WOODY,                                  )
                                                 )
                      Defendant.                 )



       This matter is before the court on the motion of defendant Jennifer Woody (Woody)
to review detention (Filing No. 57). Woody seeks a hearing and release to a drug
treatment facility.
       Woody has been treated for her substance abuse on four prior occasions since
2000. Three of those occasions were at Valley Hope and the fourth was while Woody was
within a Bureau of Prisons facility. Woody has also performed intensive outpatient
treatment through Catholic Charities and Lutheran Family Services while out on supervised
release. Woody has been consistently noncompliant while on release.
       The undersigned magistrate judge finds the proposal of Woody in her motion to be
inadequate to reasonably assure the safety of the community if she were released.
Woody’s motion will be denied in its entirety.


       IT IS ORDERED:
       Woody’s motion to review detention and her request for a hearing (Filing No. 57) is
denied.


       DATED this 8th day of January, 2010.
                                                 BY THE COURT:


                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
